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                             UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF COLUMBIA

UNITED STATES OF AMERICA                   :
                                           :
              v.                           :
                                           :         Case No. 1:21-cr-190 (DLF)
Zachary Alam                               :
                                           :
              Defendant.                   :


                            NOTICE OF ATTORNEY APPEARANCE
                             AND SUBSTITUTION OF COUNSEL


         The United States of America, by and through its attorney, the United States Attorney for

  the District of Columbia, informs the Court that Assistant United States Attorney (AUSA) Rebekah

  Lederer will appear, in the above captioned case, as co-counsel on behalf of the government along

  with Joseph Smith. This appearance is in place of Assistant United States Attorneys Melanie

  Alsworth and Cindy Cho.



                                                     Respectfully submitted,

                                                     MATTHEW M. GRAVES
                                                     United States Attorney
                                                     DC Bar No. 481052


                                               By:    /s/ REBEKAH LEDERER
                                                      REBEKAH LEDERER
                                                      Pennsylvania Bar No. 320922
                                                      Assistant United States Attorney
                                                      U.S Attorney’s Office for District of Columbia
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                                                      Tel. No. (202) 252-7012
                                                      rebekah.lederer@usdoj.gov
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                                 CERTIFICATE OF SERVICE

      On this 13th day of April 2023, a copy of the foregoing was served upon all parties listed on

the Electronic Case Filing (ECF) System.



                                            /s/ REBEKAH LEDERER
